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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

   UNITED STATES OF AMERICA

   v.                                     Case No. 8:14-cr-360-T-33TBM

   MIKEIL ROYAL, ET AL.
   ______________________________/

                                    ORDER

         This matter comes before the Court upon consideration of

   Defendant Mikeil Royal’s Motion for Dismissal of Count Three

   of   the   Indictment    and/or,   in    the    alternative,    Pretrial

   Election    (Doc.   #   88),   filed     on    December   1,   2014.   The

   Government filed a response in opposition to the Motion on

   December 10, 2014. (Doc. # 92). For the reasons that follow,

   the Motion is denied.

   I.    Background

         On August 26, 2014, a grand jury returned a multi-count

   indictment against Royal, along with six other individuals.

   (See Doc. # 1). According to the indictment, between October

   of 2011, and March of 2014, Defendants participated in a

   conspiracy to obtain actual names and social security numbers

   of deceased individuals and use this information to file false

   and fraudulent income tax returns. (Id.). The indictment

   further    provides     that   refunds   received    by   filing   these
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   individual tax returns were then electronically deposited in

   accounts controlled by Defendants. (Id.).

        Counts Two through Eight of the indictment charge the

   individual Defendants with theft of government monies in

   violation of 18 U.S.C. § 641 when the refunds were deposited

   in Defendants’ accounts. (Id.). Count Three charges Royal

   with a violation of 18 U.S.C. § 641 for three deposits

   occurring on October 30, 2012, into an account allegedly

   controlled by him. (Id.). On December 1, 2014, Royal filed

   the present Motion (Doc. # 88), which is ripe for the Court’s

   review.

  II.   Discussion

        According to Royal, “it is clear that three separate

   offenses are charged in [Count Three,] in violation of Fed.

   R. Crim. P. 8(a).” (Id. at 3). Specifically, Royal provides

   that “[t]he [G]overnment must prove that [Royal] fraudulently

   submitted three different returns and that three different

   refunds were deposited as part of its proofs. The evidence

   will not be identical as to each allegation.” (Id.). Thus,

   Royal argues that “Count Three is duplicitous in that it

   charges three separate acts [as] a single crime.” (Id. at 1).




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           In order to cure the alleged duplicitous nature of Count

   Three, Royal submits that several remedies are available to

   this Court. (Id. at 3). Namely, “[t]he Count may be dismissed;

   however,     this   remedy     is    normally         utilized   when     the

   duplicitous nature of the charge becomes apparent at the

   appellate stage of the proceedings. At the pretrial [stage],

   . . . the Court may require the Government to elect which

   charge it will proceed upon.” (Id. at 3-4)(citing United

   States v. Adamson, 700 F.2d 953 (11th Cir. 1983)).

           A count in an indictment is duplicitous if it charges

   two or more “separate and distinct” offenses. United States

   v. Schlei, 122 F.3d 944, 977 (11th Cir. 1997). The Schlei

   Court     recognized    that   a    duplicitous       count   poses     three

   dangers:     “(1)   A   jury   may    convict     a    defendant      without

   unanimously agreeing on the same offense, (2) A defendant may

   be prejudiced in a subsequent double jeopardy defense, and

   (3) A court may have difficulty determining the admissibility

   of evidence.” Id.

           The key issue for a court to determine is “what conduct

   constitutes a single offense.” Schlei, 122 F.3d at 977; cert.

   denied 523 U.S. 1077 (1998). To that end, “the test for

   determining whether several offenses are involved is whether

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   identical evidence will support each of them, and if any

   dissimilar facts must be proved, there is more than one

   offense.” Bins v. United States, 331 F.2d 390, 393 (5th Cir.

   1964)(citing      Blockburger       v.    United    States,       284    U.S.   299

   (1932)).

         According        to   the     Government,         Count    Three    of    the

   indictment provides that Royal violated 18 U.S.C. § 641, “and

   more specifically, that [Royal] engaged in conduct which

   resulted    in    the       stealing,         embezzling,       purloining,      or

   converting to his own or others’ use, income tax refund money

   belonging to the United States.” (Doc. # 92 at 6). Moreover,

   the Government argues that “the basic operative facts which

   constituted      the    violation     which      Count    Three    alleges      all

   occurred   on    October      30,    2012.”      (Id.).    Specifically,        the

   Government contends that on October 30, 2012, Royal received,

   “into an account bearing his name at Fidelity Investments,

   the   fraudulent        income      tax       returns    of     three    deceased

   taxpayers.” (Id.).

         These [October 30, 2012,] deposits to [Royal’s]
         account were part and parcel of the repetitive
         nature of the fraud scheme that is set forth in
         [the] indictment. They represent just one instance
         of the receipt by a defendant in this indictment of
         income tax refund proceeds which the defendants had
         obtained by fraudulent means. The deposits of
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          October 30, 2012[,] were thus all part of a common
          and overarching scheme to steal government funds
          and commit aggravated identity theft.

   (Id.). Therefore, according to the Government, Count Three

   does not constitute a duplicitous allegation. (See Doc. #

   92).

          Upon review of the indictment, the Court finds that the

   three deposits, each occurring on October 30, 2012, set forth

   in Count Three of the indictment can be consolidated into a

   single count as they were part of a single, continuing scheme

   that occurred within a short period of time and that involved

   the same defendant - Royal. See United States v. Robin, 693

   F.2d    376,    378   (5th     Cir.       1982)(concluding     that      the

   consolidation of several threatening acts by the defendant

   into one count was not duplicitous because they were “part of

   a single, continuing scheme that occurred within a short

   period of time and that involved the same defendant.”). “The

   consolidation    is   proper   and        thus   the   indictment   is   not

   duplicitous notwithstanding that each statement alone might

   constitute an offense.” See Id.

          Nonetheless, even if this Court were to determine that

   Count Three is a duplicitous allegation, duplicity is not

   usually fatal to an indictment. See United States v. Robinson,

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   651 F.2d 1188, 1194 (6th Cir. 1981). To that end, courts have

   noted that “the rules regarding duplicity are pleading rules

   and, as such, the defendant's remedy is to move to require

   the prosecution to elect the charge within the count and that

   a duplicitous indictment is remediable by a jury instruction

   particularizing the offense charged in each count.” United

   States v. Abdi, No. 1:13-CR-00484-JEC, 2014 WL 3828165, *6

   (N.D.   Ga.   Aug.   4,   2014)(citation     omitted).    “That   is,

   generally, any confusion or risk of non-unanimity can be

   appropriately addressed and eliminated by . . . careful jury

   instructions.” Id.; see Reno v. United States, 317 F.2d 499

   (5th Cir. 1963)(limited the trial strictly to a single charge

   by an instruction to the jury); Bins, 331 F.2d at 393 (“Since

   there is an approved procedure for submitting duplicitous

   counts by limiting instructions, the judgment, as to counts

   one and two, is reversed and remanded.”).

        Therefore, although the Court finds that Count Three is

   not duplicitous in nature, in an abundance of caution, the

   Court will be amenable to the parties submitting a proposed

   jury instruction directing the jury to consider all three

   discrete acts alleged in Count Three as a single charged

   offense. Furthermore, the Court denies Royal’s alternative

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   request that the Government be required to make a pretrial

   election of charges as to Count Three.

        Accordingly, it is

        ORDERED, ADJUDGED, and DECREED:

        Defendant Mikeil Royal’s Motion for Dismissal of Count

   Three of the Indictment and/or, in the alternative, Pretrial

   Election (Doc. # 88) is DENIED.

        DONE and ORDERED in Chambers in Tampa, Florida, this

   15th day of December, 2014.




   Copies: All Counsel of Record




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